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17                      IN THE UNITED STATES DISTRICT COURT
18                             FOR THE DISTRICT OF ARIZONA
19
20    United States of America,                           CR-18-422-PHX-DJH
21                         Plaintiff,                 UNITED STATES’ RESPONSE TO
                                                     DEFENDANT LACEY’S RENEWED
22             v.                                       MOTION TO SET A STATUS
                                                             CONFERENCE
23                                                             [Doc. 2080]
      Michael Lacey, et al.,
24
                           Defendant.
25
26
27
28
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 1          Defendant Lacey continues to complicate a straightforward issue. On May 7, 2024,
 2   in accordance with the Court’s Order (Doc. 2088), the parties met and conferred. The
 3   United States presented Lacey with two options: (1) to move forward with sentencing and
 4   then take his appeal with Defendants Brunst and Spear while the outstanding counts are
 5   held in abeyance until after the appeal; or (2) set the case for trial before Lacey’s sentencing
 6   hearing. Lacey chose option three—hold his trial and his sentencing hearing in abeyance
 7   until after the Ninth Circuit issues a mandate on Defendants Brunst’s and Spear’s appeals.
 8   This option isn’t tenable. Lacey should be sentenced now and take his appeal with Brunst
 9   and Spear. This is an option that is supported by law, and assuages Lacey’s concern (shared
10   by the United States) that proceeding to trial before the Ninth Circuit rules on the appellate
11   issues is inefficient.
12   I.     Sentencing Lacey And Holding Remaining Counts In Abeyance Is Appropriate
13          And Supported By Law.
14          a.      Lacey’s Arguments About Permitting the Ninth Circuit to Rule Before
15                  Further Trials Commence Are Well Reasoned.
16          Defendant Lacey has consistently urged this Court to delay any retrial until the
17   Ninth Circuit has had an opportunity to rule on issues that will be raised on appeal. (Doc.
18   2038 at 2 (“As a matter of efficiency for the court, the parties, the witnesses, and the jury,
19   Lacey respectfully requests that this Court hold his retrial in abeyance until the Ninth
20   Circuit has the opportunity to address the appellate issues that are common to all three
21   remaining Defendants . . . .”); Doc. 2046 at 4 (“Mr. Lacey and his counsel believe [retrial
22   after the appeal] is the most efficient way to try him because any issues resolved by the
23   Ninth Circuit would be applicable to the retrial . . . .”); Doc. 2080 at 3 (“[I]t would be most
24   efficient for the Court to schedule Mr. Lacey’s third trial . . . after the Ninth Circuit ruled
25   on the appeals . . . because any rulings by the Ninth Circuit would be applicable to, and
26   controlling of, the issues to be tried in Mr. Lacey’s retrial . . . .”).)
27          The United States agrees that judicial efficiency is best served by allowing the
28   appeal to run its course before Lacey’s retrial. But Lacey wants his co-Defendants to carry


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 1   the water on appeal, while his entire case is stayed. As the Court has previously noted,
 2   that’s imprudent. Defendants Brunst and Spear can’t fully represent Lacey’s interests
 3   before the Ninth Circuit. Lacey should have an opportunity to raise issues on appeal in the
 4   manner he deems appropriate.
 5          b.     Applicable Law Permits Lacey to Appeal His Sentence to Count 100,
 6                 Even with Unresolved Counts.
 7          Contrary to Lacey’s protestations, the Ninth Circuit permits a defendant to take an
 8   appeal after sentencing when indicted counts remain unresolved. The Ninth Circuit has
 9   permitted this practice for at least 30 years. See United States v. Sehnal, 930 F.3d 1420
10   (9th Cir. 1991). In Sehnal, a case tried before Judge Rosenblatt in this District, a jury
11   returned guilty verdicts for two counts, but hung on two other charges. Id. at 1421. After
12   the jury failed to convict on the two counts, the defendant moved for acquittal, which the
13   district court denied. Id. On appeal, the Ninth Circuit considered the defendant’s issues
14   related to the counts of conviction, but found that “[b]ecause the denial of Sehnal’s motion
15   for acquittal is not a final judgment, we do not have jurisdiction to review that denial” and
16   dismissed that portion of the appeal. Id. at 1424.
17          The most expansive analysis of this issue comes from the Second Circuit. United
18   States v. Abrams, 137 F.3d 704, 706-707 (2d Cir. 1998). In Abrams, the defendant had
19   been convicted and sentenced on three counts of conviction, while the district court
20   declared a mistrial on ten other counts. Id. at 707. The trial court then deferred retrial on
21   those ten counts until after the appeal. Id. Accordingly, the question before the Second
22   Circuit was “whether [the appellate court has] jurisdiction over an appeal from the
23   judgment when other counts of the indictment (as to which the district court declared a
24   mistrial) are unresolved and await retrial.” Id.
25          The Abrams court had no trouble finding that it had jurisdiction to consider such an
26   appeal. Id. It reasoned: “Although the litigation as framed in the indictment may not yet
27   have run its course, the counts of conviction have been resolved and the sentence is ready
28   for execution.” Id. The Abrams court then cited a Ninth Circuit decision to support its


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 1   holding, finding that “[t]he unresolved counts have in effect been severed, and will be
 2   resolved another time in a separate judgment.” Id. (citing United States v. Powell, 24 F.3d
 3   28, 30 (9th Cir. 1994)). Finally, the court referenced a Seventh Circuit case that reached
 4   the opposite conclusion under similar facts. Id. (citing United States v. Kaufmann, 951
 5   F.2d 793, 795 (7th Cir. 1992)). But a later Seventh Circuit decision recognized that this
 6   represented the minority approach, and the Abrams court found that such an approach
 7   “would substantially delay the execution of a valid conviction and sentence, force trials
 8   that may never be needed, and impose expense and burden on the prosecution and the
 9   defense—undesirable results that are not mandated by the jurisdictional statute.” Id. (citing
10   United States v. Kaufmann, 985 F.2d 884, 891 (7th Cir. 1993)). So too here.
11          The Ninth Circuit agrees with the Abrams-analysis. In United States v. King, the
12   Ninth Circuit found, “the [appellate] court’s interest in ensuring a defendant has the right
13   to appeal a sentence when he begins serving it outweighs the government’s concerns about
14   piecemeal appellate review.” 257 F.3d 1013, 1021 (9th Cir. 2001). The King court, which
15   cited Abrams approvingly, found it had jurisdiction to consider an appeal from a defendant
16   who had pleaded guilty to 19 counts of a 50-count indictment when the remaining counts
17   were not dismissed at sentencing. Id. at 1018. In that case, the government argued that the
18   Ninth Circuit lacked jurisdiction to hear the appeal under 28 U.S.C. § 1291, because the
19   judgment in the district court was not final, given the 31 outstanding counts. Id. at 1019.
20   The King court held, “[b]ecause the court imposed sentence on counts 24 through 42, King
21   was entitled to appeal the sentence despite the pending charges.” Id. at 1020. The same
22   rationale applies here. Defendant Lacey has been convicted of Count 100. The Court
23   should sentence him on that count and Lacey can then argue his appeal to the Ninth Circuit.
24   After the Ninth Circuit issues its mandate, the United States will determine whether it will
25   proceed to a retrial or simply dismiss the remaining counts.
26   II.    Conclusion.
27          The issue before this Court is clear. Both parties agree that the appeal should occur
28   before any retrial. The most efficient manner for that to occur is for this Court to sentence


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 1   Lacey with the other two Defendants and hold the outstanding counts alleged against him
 2   in abeyance. This approach is permitted by law and ensures that Defendant Lacey can
 3   make whatever arguments he believes appropriate to the Ninth Circuit.
 4          Respectfully submitted on this 10th day of May 2024.
 5
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 7
 8                                           s/ Andrew C. Stone__________________
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16
17                              CERTIFICATE OF SERVICE
18
            I hereby certify that on May 10, 2024, I electronically transmitted the attached
19
     document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
20
     Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
21
     as counsel of record.
22
23   s/ Zufan Yegezu
     Zufan Yegezu
24   U.S. Attorney’s Office
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